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          Case: 17-2900     Document: 1-4         Filed: 09/14/2017   Pages: 2



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                  Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                        Phone: (312) 435-5850
             Chicago, Illinois 60604                                              www.ca7.uscourts.gov




                                                    CIRCUIT RULE 3(b) NOTICE
 September 14, 2017


                                         CHARLES CURRY, doing business as GET DIESEL NUTRITION,
                                         Plaintiff - Appellant

 No. 17-2900                             v.

                                         REVOLUTION LABORATORIES, LLC, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 1:17-cv-02283
 Northern District of Illinois, Eastern Division
 District Judge Matthew F. Kennelly
 Clerk/Agency Rep Thomas G. Bruton


Circuit Rule 3(b) empowers the clerk to dismiss an appeal if the docket fee is not paid within
fourteen (14) days of the docketing of the appeal. This appeal was docketed on
September 14, 2017. The District Court has indicated that as of September 14, 2017, the docket
fee has not been paid. Depending on your situation, you should:


 1.            Pay the required $500.00 docketing fee PLUS the $5.00 notice of appeal filing
               fee to the District Court Clerk, if you have not already done so. The Court of
               Appeals cannot accept this fee. You should keep a copy of the receipt for your
               records.

               File a motion to proceed on appeal in forma pauperis with the District Court, if
               you have not already done so. An original and three (3) copies of that motion,
 2.
               with proof of service on your opponent, is required. This motion must be
               supported by a sworn affidavit in the form prescribed by Form 4 of the
               Appendix of Forms to the Federal Rules of Appellate Procedure (as amended
               12/01/2013), listing the assets and income of the appellant(s).
      Case: 1:17-cv-02283 Document #: 57 Filed: 09/14/17 Page 2 of 2 PageID #:476
         Case: 17-2900     Document: 1-4         Filed: 09/14/2017   Pages: 2



 3.       If the motion to proceed on appeal in forma pauperis is denied by the district
          court, you must either pay the required $500.00 docketing fee PLUS the $5.00
          notice of appeal filing fee to the District Court Clerk, within fourteen (14) days
          after service of notice of the action to the district court, or within thirty (30)
          days of that date, renew your motion to proceed on appeal in forma pauperis
          with this court.

If the motion is renewed in this court, it must comply with the terms of Fed.R.App.P. 24(a).

If one of the above stated actions is not taken, the appeal will be dismissed.




 form name: c7_DC_Fee_Notice_Sent(form ID: 158)
